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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )      CASE NO. 8:08CR318
                                                  )
                            Plaintiff,            )
                                                  )
                     vs.                          )      FINAL ORDER OF
                                                  )      FORFEITURE
ARNETT BONNER,                                    )
ALONZO WYNNE,                                     )
DERMAINE DAVIS,                                   )
                                                  )
                            Defendants.           )

       This matter comes on before the Court upon the United States’ Motion for Final

Order of Forfeiture and Motion to Dismiss (Filing No. 209). The Court reviews the record

in this case and, being duly advised in the premises, finds as follows:

       1. On February 27, 2009, the Court entered a Preliminary Order of Forfeiture (Filing

No. 142) forfeiting the Defendants’ interests in a Sig Sauer semi-automatic pistol, model

P229, 9mm caliber, serial number AK-11820; a Colt six-shot revolver, Python, .357 caliber,

serial number V35932; a Ruger semi-automatic pistol model Mark 1, .22 caliber, serial

number 13-06838; $590.00; $17,890.00; $10,000.00; and $28,895.00.

       2.   The United States has informed the Court that, since the entry of said

Preliminary Order, the $590.00 in United States Currency was returned to the owner.

       3. Notice of Criminal Forfeiture was posted on an official internet government

forfeiture site, www.forfeiture.gov, for at least thirty consecutive days, beginning on March

9, 2009 and on March 25, 2011, as required by Rule G(4)(a)(iii)(B) of the Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions. Declarations of
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Publication were filed herein on May 8, 2009, and on August 26, 2011 (Filing Nos. 175 and

208).

        4. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

        IT IS ORDERED:

        A. The Plaintiff’s Motion for Final Order of Forfeiture and Motion to Dismiss (Filing

No. 209) is hereby sustained.

        B. Count IV of the Superseding Indictment concerning the $590.00 in United States

Currency is hereby dismissed.

        C. All right, title and interest in and to the Sig Sauer semi-automatic pistol, model

P229, 9mm caliber, serial number AK-11820; the Colt six-shot revolver, Python, .357

caliber, serial number V35932; the Ruger semi-automatic pistol model Mark 1, .22 caliber,

serial number 13-06838; $17,890.00; $10,000.00; and $28,895.00, held by any person or

entity, are hereby forever barred and foreclosed. These properties are hereby forfeited to

the United States of America.

        D. The United States is directed to dispose of all the properties in accordance with

law.

        DATED this 29th day of August, 2011.

                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           United States District Judge




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